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                  EXHIBIT E
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                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 9:18-cv-80176-BB/BR

             IRA KLEIMAN, as the Personal
             Representative of the Estate of David
             Kleiman, and W&K Info Defense
             Research, LLC,

                               Plaintiffs,

             vs.

             CRAIG WRIGHT,

                           Defendant.
             ______________________________________/


                                   (Taken Remotely)

                                  Friday, May 1, 2020

                                9:09 a.m. - 10:56 a.m.


               VIDEOCONFERENCE DEPOSITION OF FRANK HARLEY NORWITCH

                      Taken before Darline M. West,
             Registered Professional Reporter, Notary Public
             in and for the State of Florida At Large,
             pursuant to Notice of Taking Deposition filed
             by the Plaintiffs in the above cause.

                                            -   -   -
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                                                                          Page 14
        1    meant that a judge let your opinion into federal
        2    court in July of 2013?
        3                 MS. DAGLEY:     Object to form.
        4                 You can answer.
        5                 THE WITNESS:      That was the first time.
        6    BY MR. FREEDMAN:
        7           Q.    "That was the first time."         Got it.     Okay.
        8                 Do you have an office, or do you work out
        9    of your home?
       10           A.    I'm sitting in it right now.          It's a home
       11    office.
       12           Q.    How many people work with you at Norwitch
       13    Document Laboratory.
       14           A.    The answer was, I'm -- I'm the only
       15    person -- I think I said I'm the chief cook and
       16    bottle washer.       My bookkeeper wife of 50 years is --
       17    takes care of the books, obviously.            She's not an
       18    employee, though.
       19           Q.    Mr. Norwitch, do you have an opinion about
       20    whether or not Dr. Wright authorized the signatures
       21    in this case?
       22           A.    I would have no idea.
       23           Q.    Is it accurate to say, Mr. Norwitch, that
       24    counsel for the Defendant picked the documents they
       25    wanted you to review in this case?
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        1                   MS. DAGLEY:    Object to form.
        2                   THE WITNESS:    You'd have to ask them.
        3            I'm unaware -- I'm unaware of it, if they
        4            did.    They're the people that provided me
        5            with the documents to examine.         But I can't
        6            answer that question.
        7    BY MR. FREEDMAN:
        8            Q.     You received a set -- you received a set of
        9    documents and reviewed just those documents; is that
       10    accurate?
       11                   MS. DAGLEY:    Object to form.
       12                   THE WITNESS:    More than once, yes, that
       13           is correct.
       14    BY MR. FREEDMAN:
       15           Q.      Were you given access to the data room or
       16    the repository of all documents in this case and
       17    given the ability to review through that at that
       18    time?
       19                   MS. DAGLEY:    Object to form.
       20                   THE WITNESS:    I don't know that that
       21           exists even.
       22    BY MR. FREEDMAN:
       23           Q.      Mr. Norwitch, would it be a true statement
       24    to say that the methods you're using to analyze these
       25    signatures works by comparing known examples to
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        1    questioned examples?
        2            A.    That's exactly how it's done.
        3            Q.    And you then identify whether the author of
        4    the known example is the same as the author of the
        5    questioned example?
        6            A.    Well, what you're describing there -- in
        7    essence, that's correct.         But what you're describing
        8    is really a common authorship problem.             It's a little
        9    simpler from my perspective.          It's comparing the
       10    questioned signature or signatures to the known
       11    samples.      If it results in identification, then, yes,
       12    they were all written by the same person.
       13                  Although the known signatures are not in
       14    question.      They're just a base to work from.           I have
       15    no idea independently -- I have no independent
       16    knowledge whether those known signatures -- who wrote
       17    them.    How's that?      I have no idea who wrote anything
       18    in these cases.
       19                  Known signatures are represented to me to
       20    be the product of Mr. Wright or whoever it might be.
       21    And I do -- I examine those to make sure there's
       22    consistency within them and there's not one that's
       23    been added that perhaps is not written by the same
       24    person.      But they are not in question, so they don't
       25    go -- they're not underneath the same scrutiny that
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        1                 THE WITNESS:      I -- again, Counsel, the
        2           only thing I'm saying is that whoever wrote
        3           those standard signatures that were told to
        4           me were written by Dr. Wright, whoever wrote
        5           those did not write that sig- -- that
        6           signature on this last exhibit.
        7    BY MR. LAGOS:
        8           Q.    So you're not saying he didn't sign it with
        9    his own hand, right?
       10                 MS. DAGLEY:     Objection.      Asked and
       11           answered.     Object to form.
       12                 THE WITNESS:      I'm not saying anything
       13           more than that I said in the last statement.
       14           I mean, no matter how many times you -- I
       15           understand you don't like the answer.            No
       16           matter how many different ways you ask it,
       17           you end up with the same answer.           It's the
       18           only one I have.
       19    BY MR. LAGOS:
       20           Q.    So you can't say whether or not Dr. Wright
       21    signed the document with his own hands, though,
       22    correct?
       23                 MS. DAGLEY:     Objection.      Asked and
       24           answered.     Object to form.
       25                 THE WITNESS:      Got to give you an "A"
